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          14                                  UNITED STATES DISTRICT COURT
          15
                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
          16
                                                      OAKLAND DIVISION
          17
                 EPIC GAMES, INC.,                            Case No. 4:20-cv-05640-YGR
          18                                                  Case No. 4:11-cv-06714-YGR
                             Plaintiff, Counter-defendant     Case No. 4:19-cv-03074-YGR
          19     v.
                                                              DEFENDANT APPLE INC.’S STATEMENT
                 APPLE INC.,
          20                                                  IN RESPONSE TO ORDER TENTATIVELY
                             Defendant, Counterclaimant       DENYING ADMINISTRATIVE MOTION TO
          21                                                  MODIFY CASE SCHEDULE [DKT. 330]

          22     IN RE APPLE IPHONE ANTITRUST
                 LITIGATION
          23
                                                              Hon. Yvonne Gonzalez Rogers
          24     DONALD R. CAMERON, et al.,
          25                             Plaintiffs
                       v.
          26
                 APPLE INC.,
          27
                                         Defendant.
          28

Gibson, Dunn &
Crutcher LLP

                                   DEFENDANT APPLE INC.’S RESPONSE TO DECEMBER 18 ORDER
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            1            Defendant Apple Inc. respectfully submits this notice in response to the Court’s December 18
            2    Order Tentatively Denying Administrative Motion to Modify Case Schedule, which states:
            3            [I]f Apple produces the transactional data ordered by Magistrate Judge Hixson by December
            4            31, 2020, the briefing on the motion for class certification shall remain as ordered. If not, the
            5            Court will grant the [class plaintiffs’] request and reset a briefing schedule. Apple shall file a
            6            notice by Monday, January 4, 2021 confirming whether the production was made. If not,
            7            Apple shall provide the Court with a date certain for the production.
            8    Dkt. 330 at 3. 1
            9            For the reasons set forth below, it is not possible for Apple to produce the transactional data by
          10     December 31. Apple will produce the data no later than January 22, 2021. Apple recognizes the
          11     Court’s preference to have the class certification briefs on file before the Epic trial begins. See Dkt.
          12     330 at 3. The Court can achieve that objective by extending all the deadlines (including the Epic trial
          13     date) by approximately eight weeks—subject, of course, to the Court’s other obligations. 2 If the Epic
          14     trial schedule remains unchanged, then Apple respectfully submits that the Court should adopt class
          15     plaintiffs’ proposal to defer all class certification briefing until after the Epic trial has concluded.
          16             Production of transactional data. As the Court knows, the parties have engaged in lengthy
          17     meet-and-confer discussions and correspondence regarding the production of transactional data. See,
          18     e.g., Dkt. 147-3, Ex. C (Apple’s letter summarizing the parties’ meet-and-confer discussions). The
          19     developer plaintiffs propounded their requests for production on October 17, 2019. Dkt. 147-3, Ex. A.
          20     Apple negotiated with both sets of class plaintiffs to ensure that it would produce only one time the
          21     enormous amount of responsive data—ultimately comprising terabytes of data, including dozens of
          22     attributes of roughly 65 billion transactions. However, this data does not reside in one source; it must
          23     be compiled by engineers from different repositories. Dkt. 147-3 at 4 & n.6. To this end, Apple
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                      Docket citations throughout refer to the Consumer case, In re Apple iPhone Antitrust Litigation,
                      Case No. 4:11-cv-06714-YGR.
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                      As discussed further below, Epic is already seeking discovery that far exceeds proportionality to
          27          the needs of the case, and even with the proposed adjustment of the schedule, discovery completion
                      will be challenging. Apple’s proposal of this extension should not be viewed as agreement to any
          28          expansion of the discovery that any party is entitled to. Apple reserves all objections to the
                      discovery plaintiffs seek.
Gibson, Dunn &
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            1    originally prepared a dataset in a “flat” table format—the most straightforward method for compiling
            2    this information (and consistent with the ESI protocol’s provision for the production of data in “static”
            3    format). Id. at 4; Dkt. 147-3, Ex. C at 002.
            4            On July 9, 2020, class plaintiffs informed Apple that they preferred a “relational” table format.
            5    Dkt. 147-3, Ex. C at 002. While class plaintiffs could have made this preference clear from the start,
            6    their demand came eight months after propounding their discovery requests and nearly five months
            7    since the parties had begun discussing a production timeline. Dkt. 147-3, Ex. C at 002. Nevertheless,
            8    Apple agreed and subsequently produced two large samples—a sample of 100,000 transactions in July
            9    and a second 100 million transaction sample in September—and agreed to make over fifteen changes
          10     to the data set at class plaintiffs’ request. Dkt. 147-3, Ex. C at 001-004. 1 Throughout this time, Apple
          11     stood ready to produce the full transactional data set on the reasonable condition that it would only
          12     produce the set once (unless class plaintiffs agreed to pay for a supplemental production). Dkt. 147-3
          13     at 4-5; see also Dkt. 201-1, Ex. A at 91:5-15 (Magistrate Judge Hixson observing, “I’m very
          14     sympathetic to Apple’s position that they should only have to produce this data once. So you need to
          15     understand that . . . .”). Class plaintiffs refused to so stipulate, insisting among other things that Apple
          16     add an additional field called “proceeds_reason.” Dkt. 147-3 at 5.
          17             The parties submitted this dispute to Magistrate Judge Hixson on November 13, 2020. See Dkt.
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          19          Apple repeatedly informed class plaintiffs that, due to the volume and nature of the transactional
                      records at issue, it would take significant effort and at least two weeks to complete production once
          20          the production process was started, and that each additional request by plaintiff would increase the
                      burden on Apple and further delay production. See Dkt. 147-3, Ex. C at 005; see also Dettmer
          21          Decl. Ex. 1 (August 4, 2020 email explaining that while Apple is able to produce the materials in
                      relational tables “the processing and analysis time will likely be greater”); id. Ex. 2 (August 4, 2020
          22          email recognizing the additional challenges posed by the pandemic); id. ¶ 5 (August 7, 2020 call
                      where Apple explained it would take at least two weeks to produce the data as a relational table);
          23          id. Ex. 3 (August 14, 2020 email expressing the same); id. Ex. 4 (August 24, 2020 email explaining
                      the burden of extracting the large volume of data); id. Ex. 5 (September 10, 2020 email explaining
          24          plaintiffs’ additional requests increase the time to complete the full production); id. Ex. 6 (accord);
                      id Ex. 7 (accord); id. Ex. 8 (October 27, 2020 correspondence explaining Apple is prepared to
          25          produce the material but that the production is a significant undertaking); id. Ex. 9 (November 2,
                      2020 correspondence again explaining that each of plaintiffs’ additional demands increase the time
          26          to complete the full production); id. Ex. 10 (November 6, 2020 correspondence highlighting that
                      plaintiffs’ expectation ignores the necessary effort required by Apple to make the production); id.
          27          Ex. 11 (December 10, 2020 email stating that “[b]ecause Apple [] agreed to certain of plaintiffs’
                      demands to include additional fields, assembling the final data set will require some additional
          28          time”).
                                                                                                       (Cont’d on next page)
Gibson, Dunn &
Crutcher LLP                                                          2
                                      DEFENDANT APPLE INC.’S RESPONSE TO DECEMBER 18 ORDER
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            1    147-3. The “proceeds_reason” field is a binary value indicating whether or not the transaction was
            2    associated with a 15% commission due to a subscription lasting more than one year. Dkt. 201-1, Ex.
            3    A at 81:21-25; Rollins Decl. ¶ 2. This field is duplicative of other information Apple had already
            4    agreed to include in the production. Dkt. 201-1, Ex. A at 74:20-79:1; Rollins Decl. ¶ 2. That is because
            5    the larger data set already shows whether a consumer has subscribed for over a year, id., and the App
            6    Store’s commission falls from 30% to 15% for subscriptions after their first year, Dkt. 147-3 at 5 &
            7    n.7. Class plaintiffs can determine whether the commission was 15% or 30% by looking at other fields
            8    of information specifying the amount paid by the customer and the royalties provided to the developer;
            9    including “proceeds_reason” merely makes that inquiry marginally quicker. See id.; Dkt. 201-1, Ex.
          10     A at 75:15-19. 2
          11             At a hearing on December 15, Apple explained to Magistrate Judge Hixson that producing the
          12     data on 65 billion transactions in the format requested by class plaintiffs would take significant
          13     additional effort to complete. See Dkt. 201-1, Ex. A at 76:22-77:18. Including “proceeds_reason”
          14     further increases the burden, because this information has to be reverse-engineered to map to the data
          15     set that Apple has already collected. Rollins Decl. ¶ 2. Because of the complicated engineering issues
          16     involved, the various steps of this process cannot be completed simultaneously—data engineers must
          17     first gather the data from multiple sources, then stitch the data together, then subject it to quality control
          18     and validation, then encrypt it, then upload it to hard drives for sending to the plaintiffs, and then quality
          19     control test it again. Id. ¶ 3. This process requires many hours of engineering work and many hours
          20     of raw processing and computing time by machines. This is not work that Apple can do quickly or that
          21     it should have to do more than once. What is more, this process requires engineers to physically access
          22     a unique physical space in Apple’s data labs, which is complicated by access limitations necessitated
          23     by the COVID-19 pandemic. Id. ¶¶ 3-4. The unavoidable result is that including the “proceeds_reason”
          24     field will delay the already labor-intensive production of transactional data. Id. ¶ 3 (explaining that the
          25     production will take about 130 additional hours without “proceeds_reason” and a further 50 hours on
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                      Because the “proceeds_reasons” at most verifies information found elsewhere in the transactional
          28          data, it can hardly be “crucial” to class plaintiffs’ “experts’ class certification analysis.” Dkt. 327-
                      1 at 1-2.
Gibson, Dunn &
Crutcher LLP                                                          3
                                       DEFENDANT APPLE INC.’S RESPONSE TO DECEMBER 18 ORDER
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            1    top of that with its inclusion).
            2            In light of all this, Judge Hixson ordered Apple to produce the data including the “proceeds
            3    reason” field but rejected class plaintiffs’ request that Apple “produce the transactional data . . . by the
            4    end of December.” Dkt. 201-1, Ex. A at 90:19-91:4. He explained, “I’m not going to do that” because
            5    “the January time frame [Apple] outlined”—production by January 22, 2021—“under the
            6    circumstances and considering when this issue was surfaced to me to resolve, is fine.” Id. at 90:19-
            7    91:1-4. In his written order issued on December 18, Judge Hixson reiterated his “sympath[y] to Apple”
            8    about the burden of producing the voluminous transactional data and noted that “[t]he parties discussed
            9    the anticipated time frame for this production at the hearing.” Dkt. 192 at 8.
          10             Upon receiving this Court’s order of December 18, Apple instructed its engineers to determine
          11     whether the transactional data ordered by Magistrate Judge Hixson could be produced by December
          12     31, 2020. 3 Rollins Decl. ¶ 5. Unfortunately, it is not possible for Apple to do so—the engineering,
          13     raw processing, and other computing time required to process this massive request imposes a physical
          14     constraint on Apple’s ability to complete it.
          15             Accordingly, Apple will produce the data by January 22, 2021. Rollins Decl. ¶ 5. As noted,
          16     Magistrate Judge Hixson has already recognized this date as reasonable under the circumstances. Dkt.
          17     201-1, Ex. A at 90:19-91:4.
          18             Resetting the class certification schedule. Class plaintiffs have asserted that they will not
          19     have time to complete their class certification briefs by the current deadline (of February 3, 2021) if
          20     they receive the transactional data on January 22, 2021. However, the Court has made clear that it
          21     would benefit from receiving the class certification briefing before the Epic trial begins. Dkt. 330 at 3;
          22     see also Oct. 19, 2020 Hr’g Tr. at 31:14-17, 31:24-32:1) (“THE COURT: . . . I can tell you that when
          23     I put the schedule in place, I had your [class certification briefing] schedule in mind, and I thought it
          24     would behoove the Court to have all of that briefing in . . . I anticipated it being done so that when I
          25     went into trial on this particular [Epic] piece, I would have the full scope of your class certifications in
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                      And since the processing work to create the production is underway, removing proceeds_reason
          28          at this point would not allow Apple to complete the production any sooner but would instead
                      require additional work by Apple’s engineers.
Gibson, Dunn &
Crutcher LLP                                                         4
                                      DEFENDANT APPLE INC.’S RESPONSE TO DECEMBER 18 ORDER
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            1    mind”).
            2            Accordingly, Apple respectfully suggests that the Court consider moving the class certification
            3    briefing schedule, the Epic trial, and other corresponding dates back by approximately eight weeks
            4    (subject of course to the Court’s availability). 3 In addition to allowing the parties to brief class
            5    certification before the Epic trial begins, this would provide a greater likelihood of an in-person trial in
            6    light of the current public health situation in California.
            7            Moreover, adjusting the schedule would allow for discovery to be completed in a more orderly
            8    way—which is particularly important given the ever-expanding scope of Epic’s discovery demands.
            9    Again, the discovery Epic has sought is overbroad and disproportionate to the needs of the case, and
          10     Apple reserves all of its objections. But as the Court will recall, Apple suggested at the outset that trial
          11     should be set in August 2021, with a fact discovery cutoff in March 2021. Epic pushed for a May trial
          12     date, seeking a fact discovery cutoff in February, and representing to the Court that “[the discovery]
          13     we are going to need, Your Honor, is certain of the discovery that’s already been produced, frankly, in
          14     the Cameron case relating to the App Store,” and “some limited targeted additional discovery”
          15     regarding “in-app payment processing” and market definition,” and “some depositions.” Aug. 24, 2020
          16     Hr’g Tr. at 4:21-24, 5:13-23. The Court set a trial date of May 3, 2021, and a fact discovery cutoff of
          17     February 15, 2021; but as Apple pointed out at the time, meeting a “compressed schedule” in this case
          18     would “present challenges for both parties,” and would only be achievable “if Epic stay[ed] true to its
          19     representation to the Court that it [would] . . . confine any new requests to ‘in-app payment processing’
          20     and ‘limited targeted additional discovery and some depositions.’” Dkt. 91 at 5.
          21             Since the Court set the current schedule, Epic has abandoned any pretense of seeking only
          22     “limited targeted additional discovery,” seeking instead extensive discovery that cannot be completed
          23     within the compressed schedule that Epic itself requested. 4 As a result of the expansion of discovery
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          25          If the Court is inclined to adjust the deadlines, Apple suggests that all parties meet and confer
                      regarding specific dates to propose to the Court.
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                      For example, Epic has served 83 broad requests for production on wide-ranging topics, and has
          27          demanded that Apple more than double the number of new custodians added since Epic filed its
                      case—bringing the total number of Apple custodians to 24—with essentially no date restrictions
          28          on the time period from which documents from most of those custodians should be produced. Epic
                                                                                               (Cont’d on next page)
Gibson, Dunn &
Crutcher LLP                                                          5
                                      DEFENDANT APPLE INC.’S RESPONSE TO DECEMBER 18 ORDER
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            1    sought by Epic (and class plaintiffs), Apple will be producing documents well after the January 6, 2021
            2    cutoff for document discovery—a change to the schedule that Epic and the other plaintiffs have
            3    acknowledged is required by their expansive requests and already agreed to. In light of these demands,
            4    the parties are likely to be double- and triple-tracking depositions in January and February. This is not
            5    the incremental discovery that Epic represented it would take, what Apple committed to complete, or
            6    what the Court relied on in imposing what it acknowledged to be an “aggressive schedule.” Oct. 19,
            7    2020 Hr’g Tr. at 5:19.
            8            Adjusting all deadlines by about eight weeks would give the parties time to complete the already
            9    onerous document productions for additional custodians, prepare for all of the depositions, and
          10     complete third party discovery in an orderly fashion, while the class certification briefing runs in
          11     parallel and allows the Court to have the benefit of that briefing before the Epic trial begins. If, however,
          12     the Court does not move the Epic trial date, then it should adopt class plaintiffs’ request to defer all
          13     class certification briefing until after the conclusion of the Epic trial.
          14                                                     Respectfully submitted,
          15     Dated: December 30, 2020                        GIBSON, DUNN & CRUTCHER LLP
          16

          17                                                     By:       /s/ Mark A. Perry
                                                                                        Mark A. Perry
          18

          19                                                     Attorneys for Defendant APPLE INC.

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          24         is currently pushing for additional documents from Apple going back to 2006 or even earlier and
                     for documents that relate solely to issues outside the United States and not related to Epic, which
          25         implicates literally millions of additional documents, and which Class Plaintiffs did not insist on.
                     Indeed, Apple is already processing nearly 8 million custodial documents due to Epic’s requests
          26         (in addition to the over 12 million more processed for potential production in the class cases), and
                     Epic’s new demands added approximately 5 million new custodial documents to the universe of
          27         what Apple has to process. This is in addition to onerous new demands for non-custodial review
                     and production. Epic has also sought depositions of at least 16 Apple witnesses (including
          28         demanding apex depositions without making the requisite showing) in addition to third party
                     discovery and depositions under Rule 30(b)(6).
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Crutcher LLP                                                           6
                                      DEFENDANT APPLE INC.’S RESPONSE TO DECEMBER 18 ORDER
